                     Case 3:04-cr-00351-ADC                 Document 435           Filed 09/19/06        Page 1 of 5
 qAO 2458     (Rev.06/05)Judgmentin a CriminalCase
              SheetI



                                     UNnBoSreresDrsrrucrCounr
                       FORTHE                                 Districtof                             PUERTORICO
          I]NTIED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                        V.
            HECTOR MIGUEL ARRINDEL
                    a/k/a "Miguel                                    CaseNumber:                          (22)(SEC)
                                                                                                     04-3s1
                                                                     USM Number:                     29315-069
                                                                     OCTAVIOM. RIVERA-BUJOSA
                                                                     Defendanfs Attomey
THE DEFENDANT:
X pleadedguilty to count(s)      ONE       on05/23/06
! pleadednolo contendereto count(s)
  which was accepted by the court.

! was found guilty on count(s)
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section               Nature of Offense                                                      Offense Ended        Count
l 8 : 1 9 5 6( h )            CONSPIRACYTO COMMIT MONEY LAIINDERI]'}.IG                               MAY 2OO3              I
                              A CLASS"C" FELONY.




      The defendantis sentencedas provided in pages2 th(ough               5       ofthisjudgment. The sentenceis imposedpurcuantto
the SentencingReform Act of 1984.

! The defendant has been found not guilty on count(s)

X Count(s)     TTIREE(3)                             X is     !   are dismissed
                                                                              on themotionof theUnitedStates.

         It is orderedthatthedefendant.must     nolify theUniledStatesanomeyfor thisdistrictwithin30 daysofany changeofnarne,residence.
or mailing,address until all frnes,restitution.
                                              costs.andspecialassessments.
                                                                         imirosedby rhisjudgmentarefu[y paiO.'tfoidEiedrr pii',init"r"i",
{neoerenqant    mustnonryme coufl andUrutedStatesatlomeyol matenalchanges         rn economlcclrcurEtances.

                                                                     09119/06
                                                                     Dateof Irnpositionof Judgment




                                                                     SALVADORE. CASELLAS.U.S.DISTRICTruDGE
                                                                    Name and Title ofJudge



                                                                    09/19/06
                                                                    Date
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                                                                                                Judsmenl   Pase   2    of   5
DEFENDANT:                   HECTOR MIGUEL ARRINDEL
CASENUMBER:                  04-cR-3s l (22XSEC)


                                                          IMPRJSONMENT

            The defendantis herebycornrnittedto the custodyofthe United StatesBureau ofPrisons to be imprisonedfor a
total term of:

     S^lxT\'160)
              MONLYS.tg.    be :erved CONCURRENTLY      with the sentenceot 7 1/zfea,rsimposed in the
     State Court and that the time that he has been incarceratedbe creditedto thri sentendeimposed.


       X    The court makesthe following recommendationsto the Bueau ofPrisons:
            The Government stated for the record, that they will not obiect that defendant serves his
            sentencein St. Marteen,where he is from, or wheiever he is de3ignatedwithin the Kingdom of
            Netherlands.


            The defendant is remanded to the custody ofthe United States Marshal.

       !    The defendantshall surrenderto the United StatesMarshal for this district:

            E    a                             !   a.m.        E p.-.    on
            tr       asnotifiedby theUnitedStatesMarshal.

       tr   The defendantshall sunenderfor serviceof sentenceat the institutiondesignatedby the BureauofPrisons:

            !        before2 p.m.

            tr       asnotified by the United StatesMarchal.

            tr       asnotifiedby theProbationor PretdalServicesOffice.


                                                                 RETURN
I have executedthis judgment as follows:




            Defendantdelivered

at                                                 with a certifredcopy ofthis judgment.




                                                                                              UNITED STATES MARSHAL



                                                                        By
                                                                                           DEPUTYUNITEDSTATESMARSHAL
                           Case 3:04-cr-00351-ADC                Document 435             Filed 09/19/06          Page 3 of 5
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                                 in a CriminalCase
               Sheet3- Supervised
                                Release

                                                                                                             Judgmmt Page        3     of
DEFENDANT:                      HECTORMIGUELARRINDEL
CASENUMBER:                     04-cR-3
                                      s 1(22XSEC)
                                                SUPERVISED RELEASE
Upon releasefiom impdsonment,the defendantshall be on supervisedreleasefor a term of :


                                                                THRXE (3) YEARS


     The {eferylant mus! report to the probation oflice in the dist ct to which the defendant is released within 72 hours of release from the
custody ofthe Bueau ofPrisons.
The defendant shall not cornrnit another federal, state or local crime.
The defendantshall not unlawfully possessa controlled substance.The defendantshall refrain ftom any unla.wflrluse of a controlled
:J^b-.^tlff: Tq..q"Il,+lllh-{l submitto onedrugtestwithin l5 daysof releaseftomimprisonmeni
                                                                                         i;a ;i i;asit*o dd;,iiiiJ-'gGrtt
Inereaner.as  Ceternunedbv the court.
n         Thc above drug testing condition rs suspended,basedon the court's determinationthat the defendantposesa low risk of
          fuhue substanceabuse. (Check, ifapplicable.)

X         The defendantshall not possessa firean& ammunition,destructivedevice, or any other dangerousweapon. (Check, if applicable.)

X         The defendantshall cooperatein the collection ofDNA as dtected by the probation officer. (Check, ifapplicable.)

I         The defendant shall register with the state sex offender registration agency in the state where the defendant resides. wolks. or is a
          student,as dfuectedby the probation oIlicer. (Check, ifapplicable.)

E         The defendantshall participatein an approvedprogram for domesticviolence. (check, if applicable.)

".ll,t,:f}9g-:ntimposesr,fineorrestitution,itisaconditionofsupewisedreleasethatthedefendantpayinaccordancewiththe
Dcneoule   or ra),Tnenrssneetol ltus Judgment.

    . The defendantmust comply with the standardconditionsthat have been adoptedby this court as well as with any additional conditions
on the attachedpage.

                                         STANDARD CONDITIONS OF SUPERVISION
     l)    the defendantshall not leave the judicial dist ct without the permissionof the court or probation officer;
     2)                    thall report to the probation ollicer and shall submit a truthftl and complete written report within the first hve days of
           t"^"d*^1.d3l,
           eacnmontn:
     3)    the defendant shall answer truthi.rlly all inquiries by the probation officer and follow the instructions ofthe probation ol'Iicer:
     4)    the defendantshall support his or her dependentsand meet other family responsibilities;
     5)                      work regularly at a lawful occupation,unless excusedby the probation offrcer for schooling, haining, or other
           9"^^{:{"*lqtshall
           acceDrablereasons:
     6)    the defenclant shall notify the probation oflicer at least ten days prior to any change in residence or employment;
     7)    the de&ndan! shall refiain fiom excessiveuseofalcohol and shall not purchase,possess.use. distribute. or administeranv
           controlled substanceor any paraphemaliarelatedto any controlled substances,eicept as prescribedby a physician;
     8)    the defendantshall not ftequentplaceswhere controlled substancesare illegally sold, used,distributed,or administered;
     9t                   rEll-ngt assogialewith,any personsengagedincriminal activiry and shall not associatewirh any personconvictedof a
           f:-*l:$gturuessgranteoperlrusslon
           relony,                           to do so by the probattonolltcer;
    l0)                                             officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           ll.-*f*ldg,,t-Bt!^qrylt,a.probation
           contraband     observedin plain view of the probarionofficer:
1 l)       the defendantshall notiry the probatronofficer within seventy-twohoursofbeing arested or questionedby a law enforcementofficer;
12)        the deferrdant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the
           permissionofthe court; and
l3)        asdirected by the probation oflicer. rhe defendanrshall notiS/ lhird partiesofrisks that may be occasionedby the defendanr.scrirninal
           rec.ordor Personal.tuslory or charactensttcsand shall permit the probation officer to make such notificitions and to confirm the
           oelendants compllancewlth such notltlcatton requrrement.
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           Sheet3A SupervisedRelease

                                                                                       Judqmmt-Pase    4    of      5
DEFENDANT:              HECTORMIGUELARRINDEL
CASENUMBER:             04-CR-351(22)(SEC)

                                 ADDITIONAL SUPERVISEDRELEASE TERMS

1. The defendantshall not commit anotherFederal,state,or local crime, and shall observethe standardconditions
of supervisedreleaserecommendedby the United StatesSentencingCommission and adoptedby this Court.


2. The defendant shall not unlawfully possess controlled substances.


3. The dcfcndant shall rcfrain from possessiug fiteamrs, destrustrvc dovices, and other dangerous weapons.


4. If deportedor grantedvoluntary departurethe defendantshall remain outsidethe United States,and all placessubjectto its
jurisdiction unlessprior written permission to reenteris obtainedfrom the pertinent legal authorities and the defendant
notifies in writing the U.S. Probation Officer to that effect.


5. The defendant shall cooperate in the the collection ofa DNA sample as directed by the U.S. Probation Officer,
pursuantto theRevisedDNA CollectionRequirements,
                                              andTitle 18,U.S. Code3563(a\9).
AO 2458             Case
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                     Judgmentin a CriminatCase                 Document 435                    Filed 09/19/06     Page 5 of 5
           Sheet5 - CriminalMonetarvPenalties

                                                                                                          Judsment Pase----i--
DEFENDANT:                      HECT'R        MIGUEL ARRINDEL
CASENI-MBER:                    04-cR-3
                                      s 1(22XSEC)
                                      CRIMINAL MONETARY PENALTIES
    The defendantmust pay the total c minal monetarypenaltiesunder tlle scheduleofpalments on sheet 6.


                     Assessment                                             Fine                               Restitution
TOTALS            $ 100.00                                                $ 0                                $ 0


!   The determinationofrestitution is deferreduntil                       An Amended Judgment in a Criminal Case(AO 245C) will be entered
    after such determination.

!   The defendantmust make restitution (including community restitution)to the following payeesin the amount listed below.

    If the defendantmakesa partial payrnent.eachpayeeshall receivean approximatelyproportionedpalment, unlessspecifiedotherwisein
    the prioritv order or oercbntaeepay.rnenr
                                            column betow. However, puisuanrto f 8 LfS.C. $ji;t4di;if;;i,f.;;;;i;i.fi;-ff;i'd;;il
    befdre the'United Stdtesis paid.

Name of Pavee                                Total Loss*                           RestitutionOrder€d                   Priority or Percentase




TOTALS


D    Restitutionamount orderedpursuantto plea agreement $

!    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or frne is paicl in full before the
     fifteenth day after the date of the judgment, pusuant to 18 U.S.C. g 3612(f). All of the payment options on Sheet6 may be subject
     to penaltiesfor delinquencyand default, pusuant to l8 U.S.C. g 3612(g).

!    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     !    the interest rcquirement is waived for the       !       frne    !    restitution.

     E    the interest requirement for the     E    fine       E     restitution is modihed as follows:



+Findlngsfol the^loral
                    amountoflosses_
                                  arer,equired
                                             underChapters109A.I 10.I l0A. andI I lA ofTitle 18for offenses
                                                                                                          committed
                                                                                                                  onor afier
September 13,1994.butbeforeApril 23. 1996.
